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4¼,.AO 154 (10/03) Substitution of Attorney


                                              UNITED STATES DISTRICT COURT
                                                                   District of                                                     Oregon


            DALLAS BUYERS CLUB, LLC                                              CONSENT ORDER GRANTING
                                                 Plaintiff (s),                  SUBSTITUTION OF ATTORNEY
                                V.
                      JOHN HUSZAR                                                CASE NUMBER:                    3:15-cv-00907-AC
                                               Defendant (s),

           Notice is hereby given that, subject to approval by the court,                 Dallas Buyers Club, LLC                                          substitutes
                                                                                                                 (Pmty (s) Mnmc)

_w_e_n_dy__L_yo_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , State Bar No. _1_6_2_4_o_a____ as counsel ofrecord in
                              (Name of New Attorney)

place of        Michael G. Atkins and Megan A. Vaniman
                                                             (Name of Attornoy (s) Withdro.wiug Appcaruncc)


Contact information for new counsel is as follows:
           Firm Name:                     Fox Rothschild LLP

           Address:                       1001 4th Avenue, Suite 4500, Seattle, WA 98154

           Telephone:                   __     ) 3_8_9_-1_6_6_7_ _ _ _ _ _ _ _ Facsimile -i-u:,+-,~-'"-----------
                                         (2_0_6__
           E-Mail (Optional):             wlyon@foxrothschild.com


I consent to the above substitution.
Date:
                                                                                                                            (Sit,'llRIUl'O of Parly (s))


I consent to being substituted.
Date:                              3/8/2019                                                 ls/Michael G. Atkins
                                                                                                                 (Signature- ofFom1cr Altm11cy (s))

1 consent to the above substitution.
Date:                              3/7/2019                                               0\½1~--
The substitution of attorney is hereby approved and so ORDERED.

Date:
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                                                                                                S::MrI
                                                                                                       o-          (Signnlure of New Allorney)



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                                                                                                        ·           \                 Judge
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                                                                                                             \          i

!Note: A sepa1·ate consent orde1· of substitution must be filed by each new attorrtej wishing to enter an appearance.I
